Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 1of18

IN THE UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF MARYLAND
(Northern Division)
JEFFREY DOYLE ne
*
Plaintiff a
* Case No. 1:16-cv-03501-RDB
v. * (Consolidated Cases)
*
FRONTLINE ASSET i
STRATEGIES, LLC, et al. *
*
Defendants. *
* * * * * * * * * * * * *

UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS
ACTION
SETTLEMENT AGREEMENT AND SUPPORTING
MEMORANDUM OF LAW
Plaintiff Mario Dazza through counsel and pursuant to Fed. R. Civ. P. 23,
file this unopposed motion for preliminary certification and approval of the
proposed class action settlement in this matter.
I. INTRODUCTION
On December 9, 2016, Plaintiff Dazza filed a putative class action lawsuit
captioned Dazza v. Kirschenbaum, Phillips & Levy, P.C., et al. (hereinafter
referred to as the “Lawsuit”), asserting class claims against Defendants under the
Fair Debt Collection Practices Act (hereinafter referred to as the “FDCPA”), 15
U.S.C. § 1692, et seg. This action was consolidated with other similar actions and

the consolidated case is Doyle, et al. v. Frontline Asset Strategies, et al., Case No.

1:16-cv-03501-RDB.
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 2 of 18

Plaintiff alleges that Defendants violated the FDCPA and related state law
by improperly collecting upon a class of void judgments entered in favor of LYNV
Funding LLC without the right to do so. Defendants deny these allegations. After
arms-length negotiations with experienced counsel, the Parties entered into a Class
Action Settlement Agreement (hereinafter referred to as the “Agreement”),
attached hereto as Exhibit 1. Pursuant to Fed. R. Civ. P. 23(e), Plaintiff now seeks
preliminary certification and approval of the proposed class action settlement
which will resolve the Lawsuit. Specifically, the Plaintiff requests the Court
preliminarily certify the proposed class and preliminarily approve the proposed
class action settlement by entering the Order of Preliminary Approval of Class
Action Settlement (hereinafter referred to as the “Preliminary Approval Order”)
attached hereto as Exhibit 2.

Il. SUPPORTING MEMORANDUM OF LAW

A. PROPOSED SETTLEMENT

As stated above, the Agreement is attached hereto as Exhibit 1. The
significant terms of the proposed settlement are set forth in the following sub-
paragraphs.

1. Certification of a Fed. R. Civ. P. 23(b)(3) Maryland Class.

For settlement purposes only, and pursuant to Fed. R. Civ. P. 23 (b)(3), the

Plaintiff seeks preliminary certification of the following class of plaintiffs

(hereinafter referred to as the “Class members”):
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 3 of 18

Those persons in the State of Maryland from whom

Levy has communicated with, directly or indirectly,

from December 9, 2013 until December 9, 2016.

for the purpose of collecting a judgment entered in
favor of LVNV Funding LLC (““LVNV”) when

LVNV sued while not licensed as a collection agency

Ex. 1, Agreement, at J 6.

Defendants stipulate and warrant that the size of the Class equals
approximately 544 persons.

2. Class Representative and Class Counsel Appointment.

Plaintiff proposes, and Defendants agree, for settlement purposes only, that
Plaintiff be designated the class representative for the settling Class members
(hereinafter referred to as the “Class Representative” or “Plaintiff’), and Jane
Santoni, Matthew Vocci and Chelsea Ortega of Santoni, Vocci & Ortega, LLC,
Scott C. Borison of the Legg Law Firm LLP and Phillip Robinson of the
Consumer Law Center LLC be designated as counsel for the Maryland Class
Members (hereinafter referred to as “Class Counsel’). Jd. at ¥ 5.

Class Counsel’s qualifications are set forth in Exhibit 3 hereto.

3. Notice to Class Members per Fed. R. Civ. P. 23.

Pursuant to Fed. R. Civ. P. 23(c)(2), Plaintiff proposes, that the Notice
attached hereto as Exhibit 4 shall be sent to each Class member. See, e.g., Wetzel
v. Liberty Mut. Ins. Co., 508 F.2d 239, 254 (3d Cir. 1975) (“By its terms, the
mandatory notice requirement of (c)(2) applies only to actions maintained under

(b)(3).”). The proposed settlement, therefore, provides for notice to the Class
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 4 of 18

members to be sent to each Class member within approximately 45 days of the
Court’s preliminary approval of the Settlement Agreement. Ex. 1, Agreement, at
36. Notice to the Class shall be conducted by Class Counsel and Plaintiff subject
to supervision and verification by Defendants’ counsel. Jd.

4. Exclusions and Objections.

In compliance with Fed. R. Civ. P. 23(b)(3), the Class members will be
permitted to exclude themselves from the class. Ex. 1, at 38. Any Class member
who intends to object to the fairness of the settlement must file a written objection
with the Court no later than 60 days after notice is sent. Ex. 1, at ¢ 37. Further,
any such Class Member must, within the same time period, provide a copy of the
written objection to Class Counsel and counsel for Defendants. Jd. In the written
objection, the Class member must state: his or her full name, address, telephone
number and email address (if available); the reasons for his or her objection; and,
whether he or she intends to appear at the Fairness Hearing on his or her own
behalf or through counsel. Jd.

Any Class member who does not file a valid and timely objection to the
settlement shall be barred from seeking review of the settlement by appeal or
otherwise. Id.

5. Settlement Consideration.

As explained above, the proposed settlement class is a Rule 23(b)(3)

settlement class, and, therefore, the settlement consideration is as described in Ex.

1, Agreement, at §] 28 and 33.
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 5 of 18

6. Relief to the Class.

Under the proposed settlement, Defendants will pay a sum of $77,000.00 to
a Common Fund to be distributed to Class members as follows: $30.00 to each
class member, plus the remainder to be distributed on a pro rata basis to each class
member who paid money to Levy on the void judgments, less (i) attorney’s fees,
costs and Plaintiff’s incentive payment that may be awarded by the Court; and (ii)
any costs associated with providing notice to all Class Members and the
administration of the settlement, all of which shall be paid from the Common
Fund. See id. at J 28.

7. Class Representative Incentive Payments and Settlements.

In recognition of Plaintiff’s services as the Class Representative, the
parties agree that the Class Representative should receive an incentive payment of
$2,500.00 from the Common Fund. See id. at § 28(b)(i).

8. Attorneys’ Fees, (Non-Notice) Costs, and Expenses.

In addition to the benefits described above, Class Counsel shall be entitled
to petition the Court for an award of reasonable attorney’s fees and costs to Class
Counsel, related to this action, including reasonable time spent handling
communications from Class members, to be determined by the Court. Jd. at ¥ 29.

9. Class Action Fairness Act.

In compliance with the Class Action Fairness Act of 2005, 28 U.S.C. §

1715, within 10 days of the filing of the Agreement, Defendants will send any

notice of the proposed settlement as required by the Act.
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 6 of 18

B. THE SETTLEMENT SATISFIES THE REQUIREMENTS OF
RULE 23

“The class-action device was designed as ‘an exception to the usual rule
that litigation is conducted by and on behalf of the individual named parties
only.’” Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 155 (1982). “Class relief is
‘peculiarly appropriate’ when the ‘issues involved are common to the class as a
whole’ and when they ‘turn on questions of law applicable in the same manner to
each member of the class.’” Jd. “For in such cases, ‘the class action device saves
the resources of both the courts and the parties by permitting an issue potentially
affecting every [class member] to be litigated in an economical fashion under Rule
23.’” Id. (changes in original).

Courts in the Fourth Circuit have recognized “there is an overriding public
interest in favor of settlement, particularly in class action suits.” Lomascolo v.
Parsons Brinckerhoff, Inc., 2009 WL 3094955, at *10 (E.D. Va. 2009). “There is a
‘strong presumption in favor of finding a settlement fair;” nevertheless, a proposed
settlement must satisfy the requirements of Rule 23. Jd.; see also Amchem Prods.,
Inc. v. Windsor, 521 U.S. 591 (1997). “Fed. R. Civ. P. 23 enumerates the
requirements for certification of a class action. The Court may certify a class only
if it satisfies all the prerequisites of Rule 23(a), and the requirements of at least
one subdivision of Rule 23(b).” Peoples v. Wendover Funding, Inc., 179 F.R.D.

492, 496 (D. MD. 1998).
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 7 of 18

The reason to favor class certification is that class action lawsuits are
essential, and often the only practical way, to enforce consumer protection

laws.

In a large and impersonal society, class actions are often the last
barricade of consumer protection . . . . To consumerists, the
consumer class action is an inviting procedural device to cope with
frauds causing small damages to large groups. The slight loss to the
individual, when aggregated in the coffers of the wrongdoer, results
in gains which are both handsome and tempting.

The alternatives to the class action — private suits or governmental
actions — have been so often found wanting in controlling consumer
frauds that not even the ardent critics of class actions seriously
contend that they are not truly effective. The consumer class action,
when brought by those who have no other avenue of legal redress,
provides restitution to the injured, and deterrence of the wrongdoer.

Eshaghi v. Hanley Dawson Cadillac Co., 214 Ill. App. 3d 995, 574 N.E. 2d
760, 764 (Il. 1991).
This approach was echoed by this Court in Arrington v. Colleen, Inc., 2001
WL 34117734, at *1 (D. Md. Apr. 2, 2001):
Class certification is a useful tool which can economize and focus
judicial resources by allowing the court to consolidate similar claims
and provide consistent and conclusive final judgments. Class
certification also allows claims that may not otherwise be brought,
because the cost of bringing the individual claim is prohibitive when
the remedy is either injunctive relief or small monetary damages.
Id.
Straightforward consumer cases such as this one are routinely certified as

class actions by courts in Maryland and elsewhere. The United States Supreme

Court has noted that cases involving consumer or securities fraud or violations of
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 8 of 18

anti-trust laws are especially appropriate for class action treatment. Windsor, 521
USS. at 625. See also Benway v. Res. Real Estate Servs., LLC, 239 F.R.D. 419 (D.
Md. 2006) (certified class action claims for violation of RESPA); Mitchell-Tracey
y. United Gen. Title Ins. Co., 237 F.R.D. 551 (D. Md. 2006) (certifying two
consumer classes against title insurance underwriter for agents’ overcharges);
Peoples, 179 F.R.D. at 497 (certifying consumer class action against loan
servicer).

Finally, nearly identical matters have been certified by this Court as
meeting all the requirements of Rule 23. See Castillo v. Nagle & Zaller, P.C., Case
No. 1:12-cv-02338, (D. Md.) (Order entered July 25, 2013); Bradshaw vy. Hilco,
Civ. Case No. 1:10-cv-00113, (D. Md.) (Order entered Feb. 7, 2011). Other
matters raising similar issues have been approved as settlement classes. See e.g.,
Hauk v. LVNV Funding, LLC, CCB-09-3238; Johnson v. Midland Funding, CIV.A.
ELH - 09-2391.

1. The Fed. R. Civ. P. 23(A) Requirements are Satisfied.

Rule 23(a) provides: “One or more members of a class may sue or be sued
as representative parties on behalf of all members only if: (1) the class is so
numerous that joinder of all members is impracticable [i.e. numerosity]; (2) there
are questions of law or fact common to the class [i.e. commonality]; (3) the claims
or defenses of the representative parties are typical of the claims or defenses of the
class [i.e. typicality]; and (4) the representative parties will fairly and adequately

protect the interests of the class [i.e. adequacy of representation].”
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 9 of 18

The proposed class satisfies the Fed. R. Civ. P. 23(a) prerequisites. Each
prerequisite is discussed below.

a. Numerosity.

Numerosity requires that the class be “so numerous that joinder of all
members is impracticable.” Fed. R. Civ. P. 23(a)(1). “Impracticability refers only
to difficulty, not impossibility.” Peoples, 179 F.R.D. at 497. “[G]enerally, courts
find classes of at least 40 members sufficiently large to satisfy the [numerosity]|
requirement.” Id.

The numerosity requirement is easily met in this case since Defendants
represent and warrant that the class equals approximately 544 persons.

Plaintiff claims Defendants violated the FDCPA and state law by collecting
upon and attempting to collect upon void judgments entered in favor of LVNV
while it was acting without a collection agency license. Defendants deny that they
had knowledge that the judgments were void and otherwise deny liability.

Joinder of all 544 approximate class members would be impracticable.

b. Commonality.

“Rule 23(a)(2) requires that the court find that ‘there are questions of law or
fact common to the class.’” Central Wesleyan College v. W.R. Grace & Co., 143
F.R.D. 628, 636 (D. S.C. 1992). “Commonality [however] does not require class
members to share all issues in the suit, but simply a single common issue. Thus,
factual differences among the class members’ cases will not preclude certification

if the class members share the same legal theory.” Peoples, 179 F.R.D. at 498. See
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 10 of 18

also C. Wright and A. Miller, Federal Practice and Procedures, §1763 at 12681
(West 1994); Arrington v. Colleen, Inc., 2001 WL 34117734, *3 (D. Md. Apr. 2,
2001); German v. Fed. Home Loan Mortgage Corp., 885 F. Supp. 537, 553
(S.D.N.Y. 1995) (citing Trief vy. Dun & Bradstreet Corp., 144 F.R.D. 193, 198
(S.D.N.Y. 1992)). “Thus, factual differences among class members’ cases will not
preclude certification if the class members share the same legal theory.” Peoples,
179 F.R.D. at 498 (citing Brown v. Eckerd Drugs, Inc., 663 F.2d 1268, 1275 (4th
Cir. 1981), vacated on other grounds, 457 U.S. 1128 (1982)) (emphasis added).

The commonality requirement is met here. Plaintiff’s claims and the claims
of the proposed Class members are factually and legally identical. As discussed
above, the central issue in this case is whether Defendants improperly collected
upon or attempted to collect upon a class of void judgments entered in favor of
LVNV. Plaintiff’s and the proposed Class members’ claims stem from the same
alleged conduct — debt collection activities against them. Class certification would
result in practical and efficient case management.

c. Typicality.

“The typicality requirement goes to the heart of the representative party’s
ability to represent the class, particularly as it tends to merge with the
commonality and adequacy-of-representation requirements.” Deiter v. Kloth, 436
F.3d 461, 466 (4th Cir. 2006). Typicality requires “the claims or defenses of the
class representative typify those of the class as a whole.” Peoples, 179 F.R.D. at

498. “The essence of the typicality requirement is captured by the notion that ‘as

10
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 11 of 18

goes the claim of the named plaintiff[s], so go the claims of the class.’” Deiter,
436 F.3d at 466. “The test for determining typicality is whether the claim or
defense arises from the same course of conduct leading to the class claims, and
whether the same legal theory underlies the claims or defenses.” Jd.

Here, like commonality, the typicality requirement is plainly satisfied. As
explained, Plaintiff’s claims and the claims of the proposed Class members stem
from the same alleged conduct, and are legally and factually identical. Plaintiff’s
claims are, therefore, not only typical of the claims of the Class, they are virtually
identical to them. See Kohl v. Assoc. of Trial Lawyers of Am., 183 F.R.D. 475, 484
(D. Md. 1998); Benway, 239 F.R.D. at 424.

d. Adequacy of Representation.

The adequacy of representation requirement “focuses on class counsel’s
competence and experience and on the degree of antagonism between the class
and the representative.” Peoples, 179 F.R.D. at 499. The purpose of the
requirement is “to uncover conflicts of interest between the named parties and the
class they seek to represent.” Amchem Prods., Inc., 521 U.S. at 625. “A class
representative sero be part of the class and “possess the same interest and suffer
the same injury’ as the class members.” E. Tex. Motor Freight Sys., Inc. v.
Rodriguez, 431 U.S. 395, 403 (1977).

Here, Plaintiff has no claim or interest that conflicts with those of the Class.

Named Plaintiff has followed this case diligently, personally communicated with

11
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 12 of 18

and conferred with Class Counsel and is prepared to answer discovery and testify
at trial if this matter cannot be otherwise resolved.

Appointment of class counsel is now governed by Rule 23(g), which

provides:
(1) Appointing Class Counsel.

(A) Unless a statute provides otherwise, a court that certifies a
class must appoint class counsel.

(B) An attorney appointed to serve as class counsel must
fairly and adequately represent the interests of the class.

(C) In appointing class counsel, the court

(i) must consider: the work counsel has done in
identifying or investigating potential claims in the
action, counsel's experience in handling class actions,
other complex litigation, and claims of the type
asserted in the action, counsel's knowledge of the
applicable law, and the resources counsel will commit
to representing the class;

(ii) may consider any other matter pertinent to
counsel's ability to fairly and adequately represent the
interests of the class;

(iii) may direct potential class counsel to provide
information on any subject pertinent to the
appointment and to propose terms for attorney fees and
nontaxable costs; and

(iv) may make further orders in connection with the
appointment.

Id.
Consideration of each of the mandatory factors warrants appointment of the
Plaintiffs’ counsel as class counsel in this matter. The claims were identified

because counsels’ practices are devoted to advocating for and representing

12
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 13 of 18

consumers. Counsel stay well educated on current issues in the consumer law area
by participating in legislative matters, litigating cases, as well as speaking on the
law related to the claims. Identifying Plaintiff’s claims was possible because of
counsels’ active involvement in the consumer law issues. Prior to and since filing
this lawsuit, Plaintiff’s counsel have investigated Defendants and their practices.
Plaintiff’s counsel has and will commit sufficient resources to prosecute the case if
it is not otherwise resolved.

Plaintiff’s counsel are very experienced in class actions as well as consumer
law. Plaintiff’s counsel have previously been found to be adequate class counsel
and have served as lead class counsel in numerous cases involving consumer fraud
and other legal violations. As set forth in the attached Declarations of Counsel,
Exhibit 3, Jane Santoni, Matthew Vocci, Chelsea Ortega, Scott C. Borison and
Phillip Robinson, each have served as class counsel in many class actions,
including cases in this Court. A list of Class Counsels’ class action cases are set
forth in the accompanying Declarations, Exhibit 3.

Finally, Plaintiff has no antagonistic interests to the Class members.
Plaintiff’s claims are identical to the Class members’ claims and there is no
potential for conflicting interests in this action.

2. The Fed. R. Civ. P. 23(B)(3) Requirements are Satisfied.

“In addition to satisfying Rule 23(a)’s prerequisites, parties seeking class
certification must show that the action is maintainable under Rule 23(b)(1), (b)(2),

or (b)(3).” Amchem Prods., Inc., 521 U.S. at 614.

13
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 14 of 18

The Parties here seek certification pursuant to Rule 23(b)(3). Under (b)(3),
the plaintiff must demonstrate that the common questions of law or fact
predominate over questions effecting only individual members and that a class
action is the superior method for the fair and efficient handling of the claim. These
criteria are referred to as predominance and superiority. Factors relevant to an
examination of those criteria include the following: (1) the interest of the
individual members in controlling the prosecution or defense of their case; (2) the
extent and nature of other litigation already commenced involving the parties; (3)
the desirability of concentrating the claims in the particular forum; and (4)
difficulties likely to be encountered in management of the case.

This case meets both tests. The common questions of law and fact
predominate over any individual questions of class members. Defendants took the
same action (or inactions) with respect to Plaintiff and class members. What is at
issue is whether Defendants violated any consumer protection laws when they
sought to collect upon the void judgments entered in favor of LVNV. Defendants’
actions (or inactions) predominate and parties submit there are no individual
questions since what is at issue is Defendants’ efforts to collect upon or attempt to
collect upon LVNV’s void judgments.

The class action here also meets the superiority test. Many of the affected
individuals may not be in a position to enforce their rights through a lengthy and

costly suit. Without a class action, the persons who have claims may never be able

14
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 15 of 18

to obtain relief. A class action is appropriate and a superior method of providing
relief to the class members.

Rule 23(e) provides a class action shall be “compromised only with the
court’s approval.” Fed. R. Civ. P. 23(e). “The primary concern addressed by Rule
23(e) is the protection of class members whose rights may not have been given
adequate consideration during the settlement negotiations.” In re Jiffy Lube Sec.
Litig., 927 F.2d 155, 158 (4th Cir. 1991). “When a settlement agreement has been
the subject of arms-length bargaining, with class counsel in a position to evaluate
accurately the chances of the class prevailing if the case went to trial and where no
objections are raised by any of the affected parties, there is a strong presumption in
favor of the settlement.” Houston v. URS Corp., 2009 WL 2474055, at *5 (E.D.
Va. 2009). However, “[i]f the proposal would bind class members, the court may
approve it only after a hearing and on finding that it is fair, reasonable, and
adequate.” Fed. R. Civ. P. 23(e)(2).

“Courts have identified several factors . . . which merit consideration. These
may be broken down into two major categories: those which go to ‘fairness’ and
those which go to ‘adequacy’ of a settlement.” In re Montgomery County Real
Estate Antitrust Litig., 83 F.R.D. 305, 315 (D. Md. 1979); see also In re Jiffy Lube
Sec. Litig., 927 F.2d at 158-59.

a. The Proposed Settlement Satisfies the Fairness Factors.

To meet the fairness factors, the Court must determine “the settlement was

reached as a result of good-faith bargaining at arm’s length, without collusion, on

15
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 16 of 18

the basis of (1) the posture of the case at the time settlement was proposed, (2) the
extent of discovery that had been conducted, (3) the circumstances surrounding the
negotiations, and (4) the experience of counsel. .. .” In re Jiffy Lube Sec. Litig.,
927 F.2d at 158-59; Kovacs v. Ernst & Young, 927 F.2d 155, 158 (4th Cir. 1991).

Although the Parties reached a settlement fairly early in this Lawsuit, the
Parties negotiated the proposed settlement at arms-length after careful and
extended consideration of the strengths and weaknesses of Plaintiff’s claims and
Defendants’ defenses. Significant to the settlement was the low net worth of
Defendants which applies to the maximum statutory damages awarded under the
FDCPA.

The proposed settlement was not the product of fraud or collusion. The
Parties have been represented by counsel experienced in consumer and class
litigation. Class Counsel are “seasoned attorneys” and have determined this
settlement is in the Class members’ best interest (and does not interfere
whatsoever with any rights they have against LVNV). Class Counsels’
qualifications are further set forth in Exhibit 3. Counsel for Defendants also has a
national practice in similar litigation and substantial experience with the issues
raised by the Plaintiff’s claims and allegations.

b. The Proposed Settlement Satisfies the Adequacy
Factors.

To determine if the settlement is adequate, the Court must consider “(1) the

relative strength of the plaintiff’s case on the merits, (2) the existence of any

16
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 17 of 18

difficulties of proof or strong defenses the plaintiff is likely to encounter if the
case goes to trial, (3) the anticipated duration and expense of additional litigation,
(4) the solvency of the defendants and the likelihood of recovery on a litigated
judgment, and (5) the degree of opposition to the settlement.” Jd. at 159. While the
fifth factor is inapplicable at this stage, application of the other relevant factors
shows the proposed settlement provides adequate relief to the class members.

. Protracted discovery, motions practice and a trial in this case would be
lengthy and expensive and early settlement will avoid significant fees and costs to
each side and delay any relief to the class.

Ill. CONCLUSION

WHEREFORE, for the reasons set forth above, and pursuant to Fed. R. Civ.
P. 23(b)(3), the Parties respectfully request that the Court preliminarily certify the
proposed class and preliminarily approve the proposed settlement by entering the
proposed Preliminary Approval Order attached as Exhibit 2, and for such other

relief as this Court deems proper.

Respectfully submitted,

//s//Jane Santoni

Jane Santoni, Fed. Bar Number 05303
Matthew Vocci, Federal Bar Number 28235
Chelsea Ortega, Federal Bar Number 19327
Santoni, Vocci & Ortega, LLC

401 Washington Avenue Suite 200

Towson, Maryland 21204

Phone (443) 921-8161
jsantoni@svolaw.com

17
Case 1:16-cv-03501-RDB Document 39 Filed 02/13/18 Page 18 of 18

//s//Phillip R. Robinson

Phillip R. Robinson, Fed. Bar Number 27824
Consumer Law Center LLC

8737 Colesville Road, Suite 308

Silver Spring, MD 20910

Phone (301) 448-1304
phillip@marylandconsumer.com

//s// Scott C. Borison

Scott C. Borison, Fed. Bar Number 22576
Legg Law Firm, LLP.

1900 S. Norfolk Rd. Suite 350

San Mateo CA 94403

MD Office:

5235 Westview Dr. Suite 100
Frederick, Maryland 21703
Phone (301) 620-1016
borison@legglaw.com

Counsel for the Plaintiffs and Class

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing and attachments were sent to
all parties and counsel of record when this motion was filed with the Court’s ECF
service.

//s// Jane Santoni
Jane Santoni

18
